                     Case
                     Case 4:23-cv-01652-KAW
                          4:23-cv-01652-KAW Document
                                            Document 7-1
                                                     11 Filed
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                           for the
                                                       Northern District
                                                    __________  District of
                                                                         of California
                                                                            __________

     JOSEPH P. CUVIELLO and DENIZ BOLBOL,                                        )
                  individually,                                                  )
                                                                                 )
                                                                                 )
                            Plaintiff(s)                                         )
                                                                                 )
                           v.                                                                        Civil Action No. 4:23-cv-01652-KAW
                Rowell Ranch Rodeo, Inc. et a                                    )
                         See attached                                            )
                                                                                 )
                                                                                 )
                                                                                 )
                           Defendant(s)                                          )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HAYWARD AREA RECREATION AND PARK DISTRICT
                                           PUBLIC SAFETY MANAGER/RANGER KEVIN HART
                                           1099 E Street
                                           Hayward, CA 94541




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jessica L. Blome (Cal. Bar No. 314898)
                                           GREENFIRE LAW, PC
                                           2748 Adeline Street, Suite A
                                           Berkeley, CA 94703
                                           (510) 900-9502


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date: April 7, 2023
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                                                                                                                         Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Hayward Area Recreation and Park District Ranger Kevin Hart
 was received by me on (date)                   April 16, 2023        .

           ✔
           ’ I personally served the summons on the individual at (place) 1088 Ocho Rios Drive,
           Danville, CA                                                         on (date)        April 16, 2023       ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:        April 17, 2023                                                       Margaret McAdam
                                                                                            Server’s signature

                                                                                        Margaret McAdam
                                                                                        Printed name and title

                                                                                         P.O. Box 6553
                                                                                       Oakland, CA 94603

                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
        Case
        Case 4:23-cv-01652-KAW
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                                        11 Filed
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ROWELL RANCH RODEO, INC.;                         DEFENDANTS
HAYWARD AREA RECREATION AND
PARK DISTRICT; HAYWARD AREA
RECREATION AND PARK DISTRICT
PUBLIC SAFETY MANAGER/RANGER
KEVIN HART; and DOES 1 and 2, in their
individual and official capacities, jointly and
severally
              Case 4:23-cv-01652-KAW Document 11 Filed 04/19/23 Page 4 of 4




                                          PROOF OF SERVICE
 1
 2   I am a resident of the State of California, over the age of eighteen years, and not a party to the
     within action. My mailing address is P.O. Box 6553, Oakland, CA 94603. On April 16, 2023, I
 3   served the following document(s) by the method(s) indicated below:

 4
        1. VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
 5         AND DAMAGES
 6      2. CONSENT OR DECLINATION TO MAGISTRATE JUDGE JURISDICTION
        3. ORDER SETTING INITIAL CASE MANAGEMENT CONFERENCE AND ADR
 7         DEADLINES
        4. STANDING ORDER FOR ALL JUDGES OF THE NORTHERN DISTRICT OF
 8         CALIFORNIA
        5. STANDING ORDER FOR MAGISTRATE JUDGE KANDIS A. WESTMORE
 9      6. SETTLEMENT CONFERENCE STANDING ORDER FOR MAGISTRATE
10         JUDGE KANDIS A. WESTMORE
        7. NOTICE RE: TELEPHONIC APPEARANCE PROCEDURES FOR
11         MAGISTRATE JUDGE KANDIS A. WESTMORE
12
13
                    by placing on this date a true copy of the document(s) listed above in a sealed
14                  envelope(s) with postage thereon fully prepaid to the address(es) set forth below,
15                  in a collection box regularly maintained by the United States Postal Service.

16
                    by personally delivering the document(s) listed above to the person(s) at the
17                  address(es) set forth below.
18
19          Kevin Hart
20          1088 Ocho Rios Drive
            Danville, CA 94526
21
22
     I declare under penalty of perjury that the foregoing is true and correct.
23
     Executed on April 17, 2023 at Oakland, California.
24
25
     Margaret    McAdam
     ________________________________
26   Margaret McAdam
27
28                                                    POS
                                        Civil Case No. 23-cv-01652-KAW
                                                        1
